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                        Exhibit F
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AO 888 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                              District of Connecticut

                    Denis Marc Audet, et al.
                                                                               )
                               Plaintiff                                       )
                                  V.                                           )       Civil Action No.         3:16-cv-00940
  Stuart A. Fraser, GAW Miners, LLC, and ZenMiner,                             )
                        LLC                                                    )
                              Defendant                                        )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                Homero Joshua Garza, 136 Hillcrest Terr. Unit 1, Battleboro, VT 05301

                                                       (Name ofperson to whom this subpoena is directed)

        if
        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          The items listed in Schedule A, attached.


 Place: Hughes Hubbard & Reed, LLP, One Battery Park Plaza,                             Date and Time:
        New York, NY 10004, or per electronic mail, by consent
                                                                                                              05/21/2018 5:00 pm
        of the parties:

     0 Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.


I Place                                                                               I Date and Time:

        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        5/2../l?!
                                  CLERK OF COURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk


The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                                Stuart A. Fraser
                                                                                                 , who issues or requests this subpoena, are:
---------------------------
Sarah L. Cave, Hughes Hubbard & Reed, One Battery Park Plaza, NY, NY 10004, sarah.cave@hugheshubbard.com,
212-83Z-6QQQ· Sean Eisbec BSW I aw 271 Whitney Ave New Haven CI 06511 stisbec@bswlaw com 203-562-2098
                                       Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 888 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:16-cv-00940

                                                               PROOF OF SERVICE
                      (This section should not be.filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title,         if any)

on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on   (date)                                 ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are$                                      for travel and $                               for services, for a total of$                0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address


Additional information regarding attempted service, etc.:
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AO 888 (Rev. I 2/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (I) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (I) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
  (I) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             !fa subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction-which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees---on a party or attorney who          information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises-or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. !fan objection is made,             (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena ifit requires:                                who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or




                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                         SCHEDULE A

                                         DEFINITIONS

               1.     The Uniform Definitions in Discovery Requests set forth in Local Civil
Rule 26 are hereby incorporated by reference into these document requests.

                2.     "Communication" means the transmittal of information (in the form of
facts ideas, inquiries or otherwise), including without limitation phone calls, emails (including
any email addresses used by any employee of the Companies and any domain names purchased
in association with the Companies), text messages, messages sent through or on online
chatrooms (including Reddit, Bitcoin Talk, Hashtalk.org and others), messages sent through
secure applications such as Telegram, social media messages or posts (including Linkedln,
Twitter, Facebook and others), and any other form of communication.

                3.     "Companies" refers to      GAW      Miners, LLC and ZenMiner,        LLC
( d/b/a/ Zen Cloud).

                  4.   "Complaint" refers to Plaintiffs' First Amended Complaint (ECF No. 57)
in this action.

                  5.   "Fraser" refers to Defendant Stuart A. Fraser.

               6.       "Garza," "You" and "Your" refer to Homero Joshua Garza, and any
attorneys, associates, agents or any other person performing any service for him.

                7.     "GAW Cryptocurrency Products" means Hardware-Hosted Mining,
Cloud-Hosted Mining, Hashlets, Hashpoints, HashStaker, Paycoin (as defined below), CoinCard,
Paybase Wallets (as defined below) and any other product or service offered by the Companies
as alleged in Paragraph 160 of the Complaint.

               8.      "Investment" means each and every purchase, sale, transfer or redemption,
in any type of security, including without limitation any GAW Cryptocurrency Products, virtual
currency wallets, or any other virtual currency, made by You or on Your behalf.

              9.     "Pay base Wallet" means the virtual currency wallet launched by the
Companies to store Paycoin as alleged in Paragraph 153 of the Complaint.

                10.    "Paycoin" means the virtual currency product launched by GAW Miners
as alleged in Paragraph 8 of the Complaint.

              11.   "Plaintiffs" refers to Denis Marc Audet, Michael Pfeifer, Dean Allen
Shinners and Jason Vargas, and any associates, agents or any other person acting on behalf of
Plaintiffs.
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                                        INSTRUCTIONS

               1.      This subpoena applies to all documents in your possession, custody, or
control. All documents that respond, in whole or in part, to any portion of the requests herein
shall be produced in their entirety, including all attachments and enclosures.

               2.    All documents produced pursuant hereto are to be produced as they are
kept in the usual course of business or shall be organized and labeled (without permanently
marking the items produced) so as to correspond with the categories of each numbered request.

                3.     For each draft, final document, original, and reproduction; each signed and
unsigned document; and each additional copy of such document, where such document contains
a comm entary, note, notation, or any other change whatsoever which does not appear on the
original or on the copy of the document produced, it shall be deemed and considered to
constitute a separate document.

               4.     Please provide documents as single-page black and white TIFFs, with
document-level OCR, delimited (.DAT) document load file, LFP or OPT image load files, and
metadata for the following fields: BegDoc, EndDoc, BegAttach, EndAttach, Subject, FileName,
Sent Date, Created Date, Last Modified Date, Author, From, To, CC, BCC, Recipients,
Custodian, FilePath, Parent, MOS, ConfidentialStamp, Text_Path, and File_Path.

              5.     Please provide separate copies of spreadsheets (Excel), presentations
(PowerPoint) and database files in their native format. The produced file should be named with
the Bates number of the first page of the corresponding TIFF production of the document ( e.g.,
"ABCOOOOOO 1.xls").

                6.      If you contend that any document, group of documents, or any portion
thereof, that is responsive to any request to produce herein is privileged or otherwise immune
from discovery, you shall communicate in writing the nature of the claim of privilege or
immunity from discovery, describe the nature of the documents at issue, and confer in good faith
with us in order to facilitate further compliance with the Federal Rules of Civil Procedure and the
Local Civil Rules.

              7.      If you claim a privilege with respect to a portion of a document, you
should nonetheless produce the portion of the document for which you do not claim a privilege.

              8.      Except where otherwise indicated, each request covers the time period
beginning January 1, 2003 and continuing to November 4, 2016.




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                                   REQUESTED DOCUMENTS

        1.      All documents and Communications concerning the records of the Companies,

including without limitation the purchase and sale of any assets, any bank account statements

(including for accounts at Bank of America and United Bank), payroll reports, pay stubs,

spending reports, real estate rental or purchase agreements, general ledgers, financial statements,

accounting records, tax documents, documents illustrating the internal structure or operation of

the Companies, or other similar reports and records.

        2.      All documents and Communications concerning loans, payments or gifts made by

Fraser to You or the Companies, including without limitation bank account statements, credit

card statements, and wire, money-transfer or other receipts.

        3.      All documents and Communications concerning loans, payments or gifts made by

You to Fraser or the Companies, including without limitation bank account statements, credit

card statements, and wire, money-transfer or other receipts.

        4.      All documents concerning Communications between You and any employees,

representatives, agents, or consultants of the Companies, Fraser, or Thomas Fraser, between

March 1, 2014 and November 4, 2016.

        5.      All documents and Communications concerning press releases, interviews with

reporters (including without limitation with CoinDesk.com, Hastalk.org, Hastalk.ch,

CyrptoCoinsNews.com, Coinbrief.net, 99bitcoins.com, TechCruch.com, and CoinJournal.net,

publicists or the like), public statements, reports, calls, meetings, or any other interactions that

have been or are publically available, either purposefully or inadvertently, and were or are within

Your or the Companies' possession, regarding the Companies, any GAW Cryptocurrency

Product or any form of virtual currency, between March 1, 2014 and November 4, 2016.



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        6.      All documents and Communications concerning Your Investments, losses or

earnings relating to Your ownership of any Investments, or any other form of currency, or

activity on any virtual currency exchange, including without limitation Your Federal, State and

Local taxes, including tax filings and tax returns, filed for the tax years 2003 - 2016.

        7.     All documents produced by You to the Securities and Exchange Commission in

relation to SEC v. Garza et al., 3:15-cv-01760-JAM (D. Conn. Dec. 1, 2015).

        8.     All documents produced by You to the Department of Justice in relation to USA v.

Garza, 3:17-cr-00158-RNC-1 (D. Conn. July 20, 2017).

        9.     All documents concerning Communications between You and Plaintiffs,

including without limitation all documents produced by You to Plaintiffs, and all documents and

Communications concerning Plaintiffs' proof of purchase, receipts, confirmation emails or other

such documentation or Communication representing, identifying or memorializing Plaintiffs'

purchase, payment, ownership or sale of any virtual currency, including without limitation

bitcoin and Paycoin, and any other mining equipment or GAW Cryptocurrency Product, between

June 1, 2014 and the present.

        10.    All documents concerning or reflecting statements given by You to Plaintiffs or

any representatives, associates, agents, or any other person acting on Your behalf, and any notes

or documents produced as a result of Your statements from July 1, 2013 and continuing to the

present, not including any public filings with the Federal District Court for the District of

Connecticut in Audet v. Fraser, et al., No. 3: 16-cv-00940 (D. Conn. June 15, 2016).




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                     CERTIFICATE OF SERVICE

          [Placeholder for Process Server's Certificate of Service]
